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              NOT YET SCHEDULED FOR ORAL ARGUMENT

                  No. 22-1019 (consolidated with No. 22-1020)


                  UNITED STATES COURT OF APPEALS
                FOR THE DISTRICT OF COLUMBIA CIRCUIT


                     EAGLE COUNTY, COLORADO, et al.,
                              Petitioners,

                                       v.

                SURFACE TRANSPORTATION BOARD, et al.,
                           Respondents, and

          SEVEN COUNTY INFRASTRUCTURE COALITION, et al.,
                      Respondent-Intervenors.


                       On Petition For Review of Orders of
                        the Surface Transportation Board


                   PROOF BRIEF FOR RESPONDENTS
                 U.S. FISH AND WILDLIFE SERVICE AND
                      UNITED STATES OF AMERICA


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   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      A.     Parties and Amici

      All parties, intervenors, and amici appearing in this Court are listed in the

Brief for Petitioners Center for Biological Diversity, et al. (the Center) except for

the parties that filed an amicus brief on October 28, 2022:

      City of Glenwood Springs, Colorado; Town of Minturn, Colorado;
      Town of Avon, Colorado; Town of Red Cliff, Colorado; Town of
      Vail, Colorado; Routt County, Colorado; Boulder County, Colorado;
      Chaffee County, Colorado; Lake County, Colorado; and Pitkin
      County, Colorado

      B.     Rulings Under Review

      The three rulings at issue in these consolidated petitions for review are:

       • The Surface Transportation Board’s January 5, 2021 order, JA____-
         ____, challenged by Petitioner Eagle County, Colorado in No. 22-1019
         (the County);

       • The Surface Transportation Board’s December 15, 2021 order, JA____-
         ____, challenged both by the County in No. 22-1019, and by Petitioners
         Center for Biological Diversity, et al. (collectively, the Center) in No.
         22-1020; and

       • The U.S. Fish and Wildlife Service’s September 20, 2021 Biological
         Opinion for the Seven County Infrastructure Coalition—Uinta Basin
         Railway project proposal, FWS_1795-1869, challenged by the Center in
         No. 22-1020.




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      C.     Related Cases

      Petitioner Center for Biological Diversity (the Center) has petitioned for

review of an independent decision by the U.S. Forest Service granting a special use

permit, authorizing a right-of-way through the Ashley National Forest for the

construction, operation, and maintenance of the Uinta Basin Railway. See Center

for Biological Diversity, et al. v. U.S. Forest Service & United States of America,

No. 22-1237 (D.C. Cir.) (the Forest Service Case). The Center designated the

Forest Service Case as related to these consolidated petitions for review under

Circuit Rule 28(a)(1)(C). Respondents’ position is that this Court lacks statutory

subject matter jurisdiction over the Forest Service Case. See U.S. Forest Service’s

Response in Support of Intervenors’ Motion to Dismiss, Center for Biological

Diversity v. U.S. Forest Service, No. 22-1237, Doc. 1973550 (D.C. Cir. Nov. 14,

2022).

                                          /s/ Justin D. Heminger
                                          JUSTIN D. HEMINGER

                                          Counsel for Respondents U.S. Fish and
                                          Wildlife Service and United States of
                                          America




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                              GLOSSARY

APA             Administrative Procedure Act

EIS             Environmental Impact Statement

ESA             Endangered Species Act

NEPA            National Environmental Policy Act




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                                  INTRODUCTION

       Petitioners in Case No. 22-1020 (collectively, the Center) challenge the

Biological Opinion issued by Respondent U.S. Fish and Wildlife Service (the

Service) for a new proposed railroad in Utah. The Center lacks standing for that

challenge. Even if the Center had standing, its lone objection to the Biological

Opinion should be rejected because the Service fully complied with the

Endangered Species Act (ESA). The Service properly examined the effects of the

proposed project on four ESA-listed fish species in affected areas of the Upper

Colorado River Basin—the Colorado pikeminnow, razorback sucker, humpback

chub, and bonytail (the Colorado River fishes). The Biological Opinion is

reasonable and supported by the record, and the Service’s expert judgments are

entitled to deference. 1

                           STATEMENT OF JURISDICTION

       The Court directed the parties to address whether it has jurisdiction to

directly review and grant relief as to the Biological Opinion. Order (July 8, 2022).

This Court has statutory subject-matter jurisdiction to directly review the

Biological Opinion, and the Service is a proper respondent, because the Surface

Transportation Board (the Board) relied on the Biological Opinion and


1
 Respondents U.S. Fish and Wildlife Service and United States of America take
no position on the issues presented by the petitions for review of the Surface
Transportation Board’s decisions.

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incorporated it into its final Order, and this Court has exclusive jurisdiction to

review that Order. See City of Tacoma v. FERC, 460 F.3d 53, 76 (D.C. Cir. 2006)

(biological opinion relied on by FERC subject to exclusive review in the court of

appeals). But the Center lacks Article III standing to challenge the Biological

Opinion. See Argument Point I.

                           STATEMENT OF THE ISSUES

      1.     Whether the Center lacks associational standing to challenge the

Biological Opinion, when its members raise only vague concerns about future

third-party oil development and oil-spill risks that are remote and unconnected to

their asserted interest in the Colorado River fishes.

      2.     Whether the Service adequately examined the direct and indirect

effects of the proposed action on the Colorado River fishes, when downline rail

traffic on the existing Union Pacific Line would have no reasonably foreseeable

impacts on those fishes.

               PERTINENT STATUTES AND REGULATIONS

      Pertinent statutes and regulations are in the Addendum.

                           STATEMENT OF THE CASE

      A.     The Endangered Species Act

      The ESA provides for the listing of species as “threatened” or “endangered”

and for designating critical habitat for listed species. See 16 U.S.C. § 1533. The



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Secretary of the Interior is responsible for listing freshwater species and for

designating their critical habitat, responsibilities that she discharges through the

Service. 50 C.F.R. §§ 17.11, 402.01(b).

      Each federal agency, in consultation with the Service, must “insure that any

action authorized, funded, or carried out by such agency . . . is not likely to

jeopardize the continued existence of” a listed species or “result in the destruction

or adverse modification” of designated critical habitat. 16 U.S.C. § 1536(a)(2). The

agency proposing to act (the action agency) must first determine whether its action

“may affect” a listed species or critical habitat, either in a biological assessment or

through informal consultation with the Service. 50 C.F.R. § 402.14. Formal

consultation is required when either the action agency or the Service concludes that

the proposed action is “likely to adversely affect any listed species or critical

habitat.” Id. §§ 402.14(b)(1), 402.13(a).

      After formal consultation, the Service issues a biological opinion addressing

whether the action is “likely to jeopardize the continued existence of a listed

species or result in the destruction or adverse modification of critical habitat.” Id.

§§ 402.14(g)(4), (h)(1)(iv)(A). The opinion evaluates the “status of the species”

and the “effects of the action” that will be added to the “environmental baseline.”

Id. §§ 402.14(g)(2)-(3), 402.02. The Service must use “the best scientific and

commercial data available” to formulate its opinion. 16 U.S.C. § 1536(a)(2).



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        B.    Factual background

        The proposed project is an 85-mile-long rail line in Utah that would create a

new rail connection between the Uinta Basin in northeastern Utah and the existing

interstate freight rail network near Kyune, Utah. FWS1798.

        For more than two years, the federal government thoroughly studied the

proposed project’s effects on federally listed species. FWS1797-98. In March

2021, the Board finalized the Biological Assessment and sought formal

consultation with the Service on the three action alternatives studied in the

National Environmental Policy Act (NEPA) process. FWS1798; FWS531-644.

The Board identified an action area for the Colorado fishes that covered areas of

the Upper Colorado River Basin that would be affected by water depletions.

FWS560-61, FWS597. Meanwhile, during preparation of the Environmental

Impact Statement (EIS) under NEPA, the Board considered comments from the

Center and other interested parties about biological resources. FWS1229-30. Those

comments led the Board to conduct more analysis of the potential impacts on the

Colorado River fishes from rail traffic “downline” on the existing Union Pacific

Line. FWS1161. After more analysis and consultation between the Service and the

Board, the Service issued the Biological Opinion in September 2021. FWS1795-

1869.




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                          SUMMARY OF ARGUMENT

      1.     The Center lacks standing to challenge the Biological Opinion. Its

member declarations that discuss the Colorado River fishes raise speculative

assertions about the risk of future oil spills that fail to show that a member of the

Center will suffer any concrete and imminent injury.

      2.     In any event, the Center’s lone objection to the Biological Opinion

lacks merit. The Center asserts that the Service and the Board should have

examined potential impacts to the Colorado River fishes from trains operating

downline on the existing Union Pacific Line. But the agencies rationally defined

the action area for fish to cover construction and operation of the proposed project.

The Board explained why the expansive downline analysis sought by the Center

was unnecessary. In any event, the Board did analyze the potential impacts of

downline operations on the fish and reasonably concluded that they were not a

concern. The Service rationally relied on the Board’s analysis and conclusion when

issuing the Biological Opinion.

                                    ARGUMENT

I.    The Center lacks standing to challenge the Biological Opinion.

      The Center asserts only associational standing, so it must show that at least

one of its members will suffer an injury in fact that is “concrete and particularized”

and “actual or imminent,” is “fairly traceable to the challenged action,” and is



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likely to be redressed by a favorable court decision. Friends of the Earth, Inc. v.

Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180-81 (2000). Where, as here,

the Center is not “the object of the government action,” standing is “ordinarily

substantially more difficult to establish.” Summers v. Earth Island Inst., 555 U.S.

488, 493 (2009) (cleaned up). The Center must show standing for each claim it

pleads, including for its separate ESA claim challenging the Service’s Biological

Opinion. DaimlerChrysler v. Cuno, 547 U.S. 332, 352 (2006).

      The Center has not shown standing for its ESA claim challenging the

Service’s decision. The Center’s claim is that the Service should have included

downline impacts in the action area for the Colorado River fishes, focusing on the

risk of oil spills into the rivers these fish inhabit. Center Br. 40-44. Yet none of the

Center’s standing declarations shows how a member is likely to suffer an imminent

and concrete injury connected to the fishes—for example, by diminishing aesthetic

enjoyment of those fishes. See Center Br. 3-4; Center Addendum 27-129, Standing

Declarations.

      On that score, no declaration asserts that construction and operation of the

85-mile rail line approved by the Board will inflict an imminent and concrete

injury on a member’s ability to enjoy the Colorado River fishes. Instead, several

declarations briefly discuss the risk of a future oil spill on the existing Union

Pacific Line that might harm the fishes if it reached the Colorado River. Henley



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Decl. ¶¶ 17-19; Nichols ¶¶ 15, 18-19; Weisheit ¶¶ 20-22, 27-30. But these

assertions fail to satisfy this Court’s standard for showing an increased risk of

future harm, which requires both (i) a “substantially increased risk of harm,” and

(ii) a “substantial probability of harm with that increase taken into account.” Pub.

Citizen, Inc. v. NHTSA, 513 F.3d 234, 237 (D.C. Cir. 2008) (cleaned up). For

example, one declarant enjoys viewing the Colorado River fishes, but offers only

vague assertions that more trains downline will “increase the risk of spills” that

purportedly would endanger those fish. Weisheit ¶ 27; id. ¶ 30 (“I feel spiritual

harm when I see dead fish on the water, and worry these incidents will increase

with the railway, because the conditions that are killing them are also endangering

us humans.”). Another declarant fails to connect a potential risk of harm to the

fishes to a concrete and imminent injury to the declarant. Nichols Decl. ¶ 19 (“I

value the existence of these fish species and the healthy streams they need to

survive.”); see also Henley Decl. ¶¶ 17-19 (hypothesizing that a train accident

“could cause tank cars and oil to reach the River”).

      Likewise, the risk that a future oil spill on the existing Union Pacific Line

could adversely affect the Colorado River fishes depends on third parties taking a

string of theoretical future actions. See Grocery Mfrs. Ass’n v. EPA, 693 F.3d 169,

176 (D.C. Cir. 2012) (petitioners failed to “drag their claims across the causation

threshold” where the injury “depend[ed] upon the acts of third parties not before



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the court”). The Center has not shown a “substantial probability,” id., that the

Service’s Biological Opinion will cause third-party conduct that inflicts a concrete,

imminent injury on the Center’s members. In sum, the Center’s ESA claim

challenging the Biological Opinion should be dismissed for lack of standing.

II.   The Service reasonably examined the effects of the proposed
      project on listed species and designated critical habitat.

      If the Center has standing, this Court should uphold the Biological Opinion.

Review of the Service’s decisions under the Administrative Procedure Act (APA)

is “highly deferential and presumes agency action to be valid.” Defenders of

Wildlife v. Jewell, 815 F.3d 1, 9 (D.C. Cir. 2016). Under the APA, the Biological

Opinion “must be upheld as long as” the Service “considered the relevant factors

and articulated a rational connection between the facts found and the choice

made.” City of Tacoma, 460 F.3d at 140. This Court defers to the Service’s expert

judgment when it is “evaluating scientific data within its technical expertise.”

American Wildlands v. Kempthorne, 530 F.3d 991, 1000-01 (D.C. Cir. 2008).

      The Service prepared a detailed Biological Opinion for the Board’s action on

the proposed project. FWS1795-1869. As to the four federally listed fish species in

the affected area of the Upper Colorado River Basin, the Service concluded that

the proposed project is not likely to jeopardize the continued existence of the

species or result in destruction or adverse modification of designated critical

habitat. FWS1843. The Center raises no challenge to the Service’s analysis and


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conclusions for any species, including the Colorado River fishes, within the project

action area that the Service studied. Center Br. 40-44.

      The Center’s single objection to the Biological Opinion is that the Service

should have more broadly defined the action area to include the portion of the

existing Union Pacific Line between Kyune, Utah, and Denver, Colorado because

of the alleged increase in spills and leaks that may be caused by trains operating

downline. Center Br. 40-44. That objection lacks merit for three reasons.

      First, courts “accord deference” to agencies “in the way” they choose “to

define the action area.” Nat’l Fam. Farm Coal. v. EPA, 966 F.3d 893, 927 (9th Cir.

2020); Friends of the Wild Swan v. Weber, 767 F.3d 936, 950 (9th Cir. 2014) (The

choice of “appropriate action areas requires application of scientific methodology

and, as such, is within the agency’s discretion.”). The Board and the Service

reasonably defined the action area for the proposed project, properly capturing the

direct and indirect effects of the proposed project on the Colorado River fishes.

FWS560; FWS1807. The ESA regulations define “action area” to mean “all areas

to be affected directly or indirectly by the Federal action and not merely the

immediate area involved in the action.” 50 C.F.R. § 402.02 (emphasis added). The

Federal action here is the Board’s approval of the proposed rail line. Thus, in its

Biological Assessment, the Board rationally defined the action area to include the

“project footprint plus all areas surrounding the project footprint where



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construction or operations activities could potentially affect the environment, either

directly, indirectly, or through interrelated or interdependent actions.” FWS560.

Then the Board more precisely described distinct action areas for plant, fish, and

wildlife species. FWS560-561.

      The Board’s normal practice is to examine an action area for fish that

includes streams and other surface waters in the project footprint and a limited

distance upstream and downstream of the proposed rail line where potential water

quality and hydrology impacts from construction and operations would affect fish

and fish habitat. FWS561. Here, though, the Board adhered to the Service’s

consultation guidance by defining the action area for the four federally listed

species (the Colorado River fishes) to be the areas of the Upper Colorado River

Basin affected by water depletion. FWS560-61, FWS597. Defining this particular

action area for fish to cover the affected area of the Basin ensured that the Board

captured surface and groundwater depletions from the Basin that could affect the

fishes. FWS561.

      After evaluating the Board’s proposed action area, the Service agreed with

that delineation, identifying a similar action area in the Biological Opinion.

FWS1807. The Service first defined the proposed action to include both

construction and operation of the railroad. FWS1798-1802. Then the Service

rationally defined the action area for plant and fish species to capture the potential



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direct and indirect effects from the railroad’s construction and operation.

FWS1807. The Service defined the action area as: (1) the entire project footprint,

(2) a 300-foot buffer around the project footprint, and (3) the area of the Upper

Colorado River Basin affected by water depletions. FWS1807. Given the

deferential lens through which this Court reviews an agency’s definition of the

action area, the Service’s expert judgment should be upheld. See Nat’l Family

Farm, 966 F.3d at 927; Weber, 767 F.3d at 950.

      The Center inaccurately asserts that the Service limited its effects analysis

for the Colorado River fishes to “construction-related water depletion impacts.”

Center Br. 40. The Service did much more than that in the Biological Opinion. The

Service (1) described the status of the fishes, (2) identified the environmental

baseline, (3) discussed factors affecting the fishes, (4) analyzed the direct and

indirect effects of construction and operation of the proposed rail line on the fishes,

and (5) examined cumulative effects on the fishes. FWS1818-1820; FWS1823-

1827; FWS1830-32; FWS1838-1839; FWS1840-41. After fully evaluating both

construction and operation impacts within the action area, the Service rationally

concluded that the proposed project was not likely to jeopardize the fishes or result

in destruction or adverse modification of designated critical habitat. FWS1843.

      Second, the Board fully addressed the Center’s position that the Board

should have examined potential downline impacts on the Colorado River fishes.



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FWS1161, FWS1229-30. Responding to the Center’s comments on the draft EIS,

the Board gave six reasons why it usually would not assess impacts to biological

resources that could occur along existing rail lines downline of the proposed rail.

FWS1229-30. That explanation is rational and sufficient by itself to dismiss the

Center’s argument, for the reasons just explained. Yet the Board went the extra

step of actually analyzing potential impacts from operations downline on the

existing rail line to confirm there would not be impacts on ESA-listed species.

FWS1161.

      The Board first noted that the existing Union Pacific Line already crosses

and closely parallels critical habitat for the fish. FWS1161. Then the Board

observed that this Line is an active rail line, in operation for many years, so

impacts from rail operations on fish “have occurred and would continue to occur.”

Id. The Board found that adding up to 9.5 more trains per day on the Line “would

not substantially change the severity of those impacts” and would not introduce a

new pollution source. Id. The Board also recognized that if a large release of oil

occurred on a downline segment crossing or next to critical habitat for ESA-listed

fish species, then adverse impacts on the fish would occur. Id. But the Board relied

on its safety analysis to find that the probability of a large spill is “very low and

such an outcome is not reasonably foreseeable.” Id. Finally, the Board noted that it

could not impose any mitigation on the Coalition to address potential downline



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impacts. Id. At the same time, trains operating on downline segments would be

subject to federal regulations applicable to transporting oil, which would minimize

potential impacts on listed fish species and critical habitat. Id.

      In short, even if the Board had misidentified the action area in its original

analysis, the Board rationally analyzed potential downline impacts from the Union

Pacific Line and concluded they were unlikely to impact the fishes. That is all the

ESA requires. See Weber, 767 F.3d at 950 (rejecting plaintiff’s argument that the

action area was too narrowly defined when the Forest Service included the relevant

portions of the channel and “gave reasons for selecting the upper and lower limits

of the river that are not arbitrary or capricious”).

      Third, the Service reasonably relied on the Board’s analysis when issuing

the Biological Opinion. FWS1795, FWS1161, FWS1229-30. While the Biological

Opinion does not repeat the analysis the Board already conducted, it “makes no

difference” to the Court’s review that “some of the data supporting” the Biological

Opinion “appears in” the Board’s “final EIS and biological assessment rather than

in the biological opinion itself.” Defs. of Wildlife v. U.S. Dep’t of Navy, 733 F.3d

1106, 1120 n.6 (11th Cir. 2013); see Ctr. for Biological Diversity v. U.S. Bureau of

Land Mgmt., 698 F.3d 1101, 1120 (9th Cir. 2012) (action agency’s biological

assessment and final EIS were relevant and available for the Service to consider).

Indeed, the ESA regulations required the Service to evaluate all relevant



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information from the Board as part of the formal consultation process, including

the final EIS. 50 C.F.R. § 402.14(g)(1) (describing the Service’s responsibilities

during formal consultation to include reviewing “all relevant information provided

by the Federal agency or otherwise available”).

      The Board’s analysis is expressly included in the Service’s record.

FWS1161, FWS1229-30. There is “no requirement that every detail of the

agency’s decision be stated expressly” in the Biological Opinion. In re Operation

of Mo. River Sys. Litig., 421 F.3d 618, 634 (8th Cir. 2005) (cleaned up). “The

rationale is present in the administrative record underlying the document, and this

is all that is required.” Id. At the very least, this Court will “uphold a decision of

less than ideal clarity” when, as here, the Service’s “path may reasonably be

discerned” from that record. San Luis & Delta-Mendota Water Authority v. Jewell,

747 F.3d 581, 616 (9th Cir. 2014) (cleaned up). Clarity is not lacking here. But if it

were, that standard is easily met.

      Notwithstanding the Service’s reliance on the Board’s analysis and the well-

established rule that not every detail need be restated in the Biological Opinion, the

Center ignores the Board’s analysis. Center Br. 40-44. In fact, the Center pretends

claims that both agencies disregarded the downline impacts on the Colorado River

fishes while failing to acknowledge what the Board actually said (and thus, the

Service actually considered) about those impacts. Id. At bottom, the Center’s



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objections boil down to “competing views about policy and science”—views that

the Board rebutted before the Service issued the Biological Opinion. In re Polar

Bear Endangered Species Act Listing and Section 4(d) Rule Litigation, 709 F.3d 1,

3 (D.C. Cir. 2013). Given the Board’s reasonable analysis, the Service complied

with Section 1536(a)(2) of the ESA when it determined that the proposed project

would not jeopardize the Colorado River fishes nor result in destruction or adverse

modification of designated critical habitat for those fishes. FWS1843; see 16

U.S.C. § 1536(a)(2).

                                  CONCLUSION

      For all these reasons, the Center’s petition for review of the Biological

Opinion should be dismissed for lack of standing or denied on the merits.

                                          Respectfully submitted,

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                     CERTIFICATE OF COMPLIANCE

      1.    This document complies with the type-volume limit of the Court’s

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                                         Wildlife Service and United States of
                                         America




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                                               ADDENDUM

Endangered Species Act
     16 U.S.C. § 1536............................................................................................ 1a

ESA Regulations for Interagency Cooperation
     50 C.F.R. § 402.02 ......................................................................................... 2a
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                             Endangered Species Act
                                16 U.S.C. § 1536

      (a) Federal agency actions and consultations

      ***

      (2) Each Federal agency shall, in consultation with and with the
      assistance of the Secretary, insure that any action authorized, funded,
      or carried out by such agency (hereinafter in this section referred to as
      an “agency action”) is not likely to jeopardize the continued existence
      of any endangered species or threatened species or result in the
      destruction or adverse modification of habitat of such species which is
      determined by the Secretary, after consultation as appropriate with
      affected States, to be critical, unless such agency has been granted an
      exemption for such action by the Committee pursuant to subsection
      (h) of this section. In fulfilling the requirements of this paragraph each
      agency shall use the best scientific and commercial data available.

      ***




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                           Endangered Species Act
                   Regulations for Interagency Cooperation
                       50 C.F.R. § 402.02 – Definitions

      ***

      Action area means all areas to be affected directly or indirectly by the
      Federal action and not merely the immediate area involved in the
      action.

      ***




                                         2a
